Case 3:15-cv-01143-BJD-JBT Document 133 Filed 03/27/18 Page 1 of 3 PageID <pageID>



                               United States District Court
                                Middle District of Florida
                                  Jacksonville Division

  WINN-DIXIE STORES, INC.,
  & BI-LO HOLDINGS, LLC,

               Plaintiffs,

  V.                                                        NO. 3:15-CV-1143-J-39PDB

  SOUTHEAST MILK, INC., ETC.

               Defendants.



                 Order Granting the Plaintiffs’ Motion to Seal

        In October 2017, the Court granted in part the plaintiffs’ second motion to
  compel Southeast Milk, Inc., to provide discovery. Doc. 107 (motion); Doc. 117 (order).
  Pending is the plaintiffs’ related motion to file under seal deposition transcripts
  supporting the second motion to compel. Doc. 108.

        The plaintiffs seek to file the transcripts under seal because Southeast Milk
  designated substantial portions of them “[c]onfidential or [h]ighly [c]onfidential”
  under the parties’ stipulated confidentiality agreement and “redacting to black out
  references to confidential information would render the relevant portions of the
  documents indecipherable.” Doc. 108 at 2. The plaintiffs assert they are “desirous of
  honoring [the confidentiality] [a]greement.” Id.

        The Court allowed the plaintiffs to provisionally file the transcripts under seal
  to decide the second motion to compel without unnecessary delay and allowed either
  party to submit supplemental briefing on the issue. Doc. 110. Southeast Milk
  submitted a brief, Doc. 113, supporting the plaintiffs’ motion to seal, Doc. 108, stating
  the transcripts involve “competitively sensitive and confidential information” about
  its business practices and “public disclosure of such information could potentially
Case 3:15-cv-01143-BJD-JBT Document 133 Filed 03/27/18 Page 2 of 3 PageID <pageID>



  cause competitive harm” to the business. Doc. 113 at 1. Southeast Milk asserts “the
  information does not include matters of public concern” and Southeast Milk’s interest
  “should outweigh the public’s potential interest in access to such information.” Doc.
  113 at 1-2.

        Under Federal Rule of Civil Procedure 26(c)(1), a party may move for a
  protective order requiring “a trade secret or other confidential research, development,
  or commercial information not be revealed or be revealed only in a specified way,”
  Fed. R. Civ. P. 26(c)(1)(G). The order must be supported by good cause. See Fed. R.
  Civ. P. Rule 26(c)(1).

        “Once a matter is brought before a court for resolution, it is no longer solely
  the parties’ case, but also the public’s case.” Brown v. Advantage Eng’g, Inc., 960 F.2d
  1013, 1016 (11th Cir. 1992). A court may determine which parts of the record should
  be sealed, but its discretion is guided by the presumption of public access. Perez-
  Guerrero v. U.S. Att’y Gen., 717 F.3d 1224, 1235 (11th Cir. 2013).

        To decide if the presumption of public access applies, a court distinguishes
  documents that “may properly be considered public or judicial records” from “those
  that may not; the media and public presumptively have access to the former, but not
  to the latter.” Id. The presumption applies to materials attached to documents that
  invoke judicial resolution on the merits but not to discovery documents irrelevant to
  the underlying issues. F.T.C. v. AbbVie Prods. LLC, 713 F.3d 54, 63−64 (11th Cir.
  2013). If the presumption does not apply, the Court must conduct only the “good
  cause” analysis under Rule 26(c). See In re Alexander Grant & Co. Litigation, 820
  F.2d 352, 355–56 (11th Cir. 1987).

        Here, the public-access presumption does not apply because the transcripts
  relate to a discovery dispute, and Southeast Milk presents good cause for sealing
  them: they contain information concerning Southeast Milk’s internal operations,
  reports made by directors, antitrust compliance policies, litigation exhibits discussing
  pricing, and communications regarding internal positions on business and policy
                                             2
Case 3:15-cv-01143-BJD-JBT Document 133 Filed 03/27/18 Page 3 of 3 PageID <pageID>



  issues. Doc. 113 at 2. Southeast Milk’s competitors could unfairly use the information
  to their advantage. The transcripts do not concern public officials or public concerns.
  The transcripts will be used not to decide the merits of the case but to resolve a
  collateral discovery dispute. There is no less-restrictive alternative to sealing because
  redacting would omit too much.

         Under Local Rule 1.09, a party seeking to file a document under seal must
  state the proposed duration of the seal and, “Unless otherwise ordered by the Court
  for good cause shown, no order sealing any item pursuant to this section shall extend
  beyond one year, although a seal is renewable by a motion that complies with … this
  rule, identifies the expiration of the seal, and is filed before the expiration of the seal.”

         The plaintiffs ask the Court to maintain the seal for one year. Doc. 108 at 4.
  Southeast Milk does not address duration. See generally Doc. 113. Given the nature
  of the documents, sealing for the presumptive one-year period is warranted, subject
  to an extension upon timely motion demonstrating good cause.

         The Court grants the plaintiffs’ unopposed motion to seal the transcripts, Doc.
  108, and directs the clerk, absent further order, to maintain the seal until October
  10, 2018.

         Ordered in Jacksonville, Florida, on March 27, 2018.




  c:     Counsel of record




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